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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                          December 03, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                HOUSTON DIVISION

In re:                                            §    Chapter 11
                                                  §
ALEXANDER E. JONES,                               §    Case No. 22-33553
                                                  §
         Debtor.                                  §    (Joint Administration Requested)
                                                  §


 ORDER GRANTING DEBTOR¶S MOTION FOR STATUS CONFERENCE (Docket #7)

         This Court, having acted upon and considered 'HEWRU¶V 0RWLRQ IRU 6WDWXV &RQIHUHQFH

WKH³Motion´ requested by Alexander E. Jones, debtor and debtor-in-possession, finds that the

Motion should be approved and relief set forth in this Order granted.

         It is hereby ORDERED that:

         A status conference is hereby set for Wednesday, December 7, 2022 at 2:00

p.m. (Prevailing Central Time), which may be adjourned or continued to a different date

without further notice, other than notice given in open court at such hearing.



          August 02,
          December 03,2019
                       2022
                       Case 22-33553 Document 25 Filed in TXSB on 12/07/22 Page 2 of 4
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: Dec 05, 2022                                               Form ID: pdf002                                                            Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 07, 2022:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
cr                     +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street, Suite 2850 Austin, TX 78701-4653
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                    #+   Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
cr                    #+   Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700 Houston, TX 77002-6774
cr                    #+   Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
cr                    #+   Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX 77002-6774
cr                    #+   Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700 Houston, TX
                           77002-6774

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Carlee Soto Parisi
cr                             Carlos M Soto
cr                             David Wheeler
cr                             Donna Soto
cr                             Ian Hockley
cr                             Jacqueline Barden
cr                             Jennifer Hensel
cr                             Jillian Soto-Marino
cr                             Mark Barden
cr                             Nicole Hockley
cr                             Robert Parker
cr                             William Aldenberg
cr                             William Sherlach

TOTAL: 13 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
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the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 07, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 3, 2022 at the address(es) listed
below:
Name                            Email Address
Christina Walton Stephenson
                                on behalf of Debtor Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                                elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Ha Minh Nguyen
                                on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jarrod B. Martin
                                on behalf of Creditor Neil Heslin jarrod.martin@chamberlainlaw.com
                                Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainlaw.com

Jarrod B. Martin
                                on behalf of Creditor Marcel Fontaine jarrod.martin@chamberlainlaw.com
                                Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainlaw.com

Jarrod B. Martin
                                on behalf of Creditor Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                                Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainlaw.com

Jarrod B. Martin
                                on behalf of Creditor Scarlett Lewis jarrod.martin@chamberlainlaw.com
                                Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainlaw.com

Jarrod B. Martin
                                on behalf of Creditor Leonard Pozner jarrod.martin@chamberlainlaw.com
                                Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;ginger.davis@chamberlainlaw.com

Jayson B. Ruff
                                on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Raymond William Battaglia
                                on behalf of Creditor Free Speech Systems LLC rbattaglialaw@outlook.com, rwbresolve@gmail.com

Ryan E Chapple
                                on behalf of Creditor Nicole Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Ian Hockley rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Francine Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor David Wheeler rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Jennifer Hensel rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Donna Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Robert Parker rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor William Sherlach rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Carlos M Soto rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Jacqueline Barden rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                                on behalf of Creditor Carlee Soto Parisi rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
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                          on behalf of Creditor William Aldenberg rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Jillian Soto-Marino rchapple@cstrial.com aprentice@cstrial.com

Ryan E Chapple
                          on behalf of Creditor Mark Barden rchapple@cstrial.com aprentice@cstrial.com

Shelby A Jordan
                          on behalf of Debtor Alexander E. Jones cmadden@jhwclaw.com

US Trustee
                          USTPRegion07.HU.ECF@USDOJ.GOV

Vickie L Driver
                          on behalf of Debtor Alexander E. Jones Vickie.Driver@crowedunlevy.com
                          elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com


TOTAL: 26
